MENDOZA
     Case: 1:18-cv-03210 Document #: 22-2 Filed: 10/04/18 Page 1 of 1 PageID #:106
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                            ALEX MENDOZA LAW P C
       CHICAGO, ILLINOIS                                                            WRITER’S DIRECT:    120 S. STATE STREET, SUITE 400
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                                                                   September 27, 2018
            VIA E-MAIL

            Glenn R. Gaffney
            glenn@gaffneylawpc.com
            Gaffney & Gaffney, P.C.
            1771 Bloomingdale Road
            Glendale Heights, Illinois 60139

                        Re:      Morales v. Extra Mile Painting Company et al.; 18 CV 3210

            Dear Counsel:

                     The plaintiff, Gonzalo Morales, accepts the defendants’ FRCP 68 offer of judgment, in
            the amount of $3,000.00 plus attorneys’ fees and costs, which offer was served on September 13,
            2018. We plan to file the offer and this acceptance in order to seek entry of judgment, and plan
            to file a petition for attorneys’ fees and costs in accordance with the offer, FRCP 68 and other
            applicable law.

                    In an abundance of caution, and as we have previously discussed, by accepting this offer
            the plaintiff states that he does not release or waive any claim/s encompassed by or centered on
            his charges of discrimination, currently pending at the Illinois Department of Human Rights and
            the Equal Employment Opportunity Commission (the “Charges”). It is the plaintiff’s express
            intention that nothing herein shall affect the Charges in any way.

                                                                   Very truly yours,

                                                                   MENDOZA LAW, P.C.


                                                            By:
                                                                   Paul Luka

            PL/np
